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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

DOUGLAS BAKER,

       Plaintiff,

v.                                                 No. 1:06-cv-01137-JDB-egb

WINDSOR REPUBLIC DOORS,

      Defendant.
_____________________________________________________________________________

             ORDER ADOPTING REPORT AND RECOMMENDATION
_____________________________________________________________________________

       Before the Court is the May 18, 2011 Report and Recommendation of the Magistrate Judge

(Docket Entry (“D.E.”) No. 159) on Plaintiff, Douglas Baker’s, motion to recover attorney’s fees

and expenses incurred while defending his successful ADA and TDA retaliation verdict on appeal

(D.E. No. 152.). The Magistrate Judge recommended that the Court grant Plaintiff’s motion and

award attorney’s fees and expenses. However, he reduced the amount requested to $31,931.25 in

attorney’s fees (98.25 hours at an hourly rate of $325) and $712.97 for reasonable and necessary

expenses.

       The Court has reviewed the Magistrate Judge’s report and recommendation, and the entire

record of the proceeding before the Magistrate Judge. No objections having been filed, the Court

ADOPTS the Magistrate Judge’s report and recommendation.

       It is therefore ORDERED that the Magistrate Judge’s report and recommendation filed May

18, 2011 is hereby ADOPTED, and the Plaintiff is awarded $31,931.25 in attorney’s fees, as well

as $712.97 as reimbursement for his reasonable and necessary expenses, for a total award of


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$32,644.22.

      IT IS SO ORDERED this 30th day of June, 2011.



                                       s/ J. DANIEL BREEN
                                       UNITED STATES DISTRICT JUDGE




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